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          From: Vanessa Motta <vanessa@mottalaw.com>
             To:            <      @kinginjuryfirm.com>
        Subject: Re: FUCK THE 5th CIR
           Date: Wed, 28 Jun 2023 21:31:39 +0000
   Attachments: unnamed_document.pdf


This is absolutely ridiculous. This is harmless????

Another filing for rehearing and en banc.

Vanessa Motta




                                                                                      GOVERNMENT
                                                                                        EXHIBIT

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